                 Case 1:21-cr-00040-RJJ ECF No. 101, PageID.971 Filed 02/24/22 Page 1 of 1

                             UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                              CRIMINAL MINUTE SHEET
USA v.       LEESA BETH VOGT                                                             DISTRICT JUDGE:         Robert J. Jonker

    CASE NUMBER                         DATE                  TIME (begin/end)           PLACE                   INTERPRETER
    1:21-CR-40-02                      2/24/2022            11:00 am - 12:13 pm       Grand Rapids




                                                                 APPEARANCES
Government:                                                Defendant:                                     Counsel Designation:
Justin Matthew Presant                                     Matthew Borgula                                Retained

             TYPE OF HEARING                                     DOCUMENTS                                CHANGE OF PLEA
    Arraignment:                                       Defendant's Rights                   Charging Document:
       mute               nolo contendre                                                          Read         Reading Waived
                                                       Waiver of Indictment
       not guilty         guilty                                                            Guilty Plea to Count(s)
                                                       Other:
    Final Pretrial Conference                                                               of the
    Detention        (waived       )
                                                                                            Count(s) to be dismissed at sentencing:
    Motion Hearing
    Revocation/SRV/PV                              Court to Issue:

    Bond Violation                                     Order of Detention                       Presentence Report Ordered
    Change of Plea                                     Notice of Sentencing                    Presentence Report Waived
                                                       Order Appointing Counsel                Plea Accepted by the Court
✔   Sentencing
    Trial
                                                   ✔   Other:                                  Plea Taken under Advisement
                                                   Judgment
    Other:                                                                                      No Written Plea Agreement

                                                                  SENTENCING

Imprisonment:                                                           Plea Agreement Accepted:     ✔   Yes     No

Probation:      4 years                                                 Defendant informed of right to appeal:    ✔   Yes      No
                                                                        Counsel informed of obligation to file appeal:      ✔ Yes   No
Supervised Release:
Fine: $ waived                                                          Conviction Information:
Restitution: $                                                              Date: 10/6/21
                                                                            By: Plea
Special Assessment: $ 100.00
                                                                            As to Count (s): 19

ADDITIONAL INFORMATION:
 Remaining counts as to defendant dismissed on motion of the government.




                    CUSTODY/RELEASE STATUS                                                BOND AMOUNT AND TYPE

                                                                            $

CASE TO BE:                                                             TYPE OF HEARING:

Reporter/Recorder:           Paul Brandell                               Case Manager:        Y. Carpenter
